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                                LINITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                           AT PIKEVILLE

IN RE:                                           Case   No. 18-10393

William Charles Polly,   Jr.                     Chapter 7

                    Debtor.                      Chief Judge Tracey Wise


                                                 MOTION OF WELLS FARGO BANK, N.A.
                                                 FOR RELIEF FROM THE AUTOMATIC
                                                 STAY AND FOR ABANDONMENT
                                                 (PROPERTY LOCATED AT 3 BROAD
                                                 STREET, VAN LEAR, KY 41265)



         Now comes Wells Fargo Bank, N.A. (the "Movant") moves this Court, under $$ 361, 362,363,

554 and other sections of the Bankruptcy Reform Act of 1978, as amended (the "Bankruptcy Code") and

under Rules 4001, 6007 and other rules of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy

Rules") for an Order conditioning, modif,zing or dissolving the automatic stay imposed by S 362 of the

Bankruptcy Code and for abandonment of property under $ 554 of the Bankruptcy Code. In support of

this Motion, the Movant states:

                                   MEMORANDUM IN SUPPORT

         1.    The Court has jurisdiction over this matter under 28 U.S.C. gg 157 and 1334. This is   a


core proceeding under 28 U.S.C. $ 157(bX2). The venue of this case and this Motion is proper under 28

U.S.C. $$ 1408 and 1409.
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       2.          Prior to the filing of this bankruptcy petition, Debtor executed a promissory note (the

"Note") which is in the possession     of Movant.

       3.          To secure payment of the Note and performance of the other terms contained in it, the

debtor and Angelica Williamson executed a Mortgage (the "Security Agreement"). The Security

Agreement granted a lien on the real and/or personal property (the "Collateral") owned by the debtor,

located at 3 Broad Street, Van Lear,     KY   41265 and more   fully described in the Security Agreement. The

lien was duly perfected by the recording of the Security Agreement in the County Clerk's Records.

       4.          The Movant is entitled to enforce the Note and Security Agreement. The documents

establishing this right are attached hereto and include the Note, applicable endorsement(s) and/or

allonges,   if   any; and the Security Agreement and any applicable assignment(s). Movant is the holder    of

the original Note. Possession of the original note gives Creditor standing to enforce the obligations

secured thereby. Stevenson v. Bank of Am.,359 S.W.3d 466,470 (Ky. Ct. App. 2011).

       5.          The Debtor's schedules have the value of the Collateral as $64,100.00.

       6.          Other persons/entities that may claim an interest in the Collateral:

                   Angelica J Williamson (signed only mortgage)

       7   .       As of the August 16, 2018, there is currently due and owing on the Note the outstanding

   principal and interest balance      of   $48,132.93, plus interest accruing thereon at the rate of 5.5000%

   per annum along with any fees, costs, escrow advances or other expenses that may have been

   incurred since the petition date as are allowed by law.

       8.          The Movant is entitled to relief from the automatic stay under $$ 362(dX1) and/or

362(d)(2) as Creditor lacks adequate protection as to its secured interest in the Collateral and there is
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little or no equity in the Collateral for the benefit of the estate.

        9.      Movant has attached as Exhibit A, a copy of the proof of claim filed in this case by

Movant, along with copies of the supporting documents establishing the Movant's perfected security

interest in the above described collateral.

        WHEREFORE, Movant prays that the automatic stay imposed by 11 U.S.C. 5 362 be terminated

in all respects as against said Movant, and its successors and assigns; and that the Trustee will have        14


days from the conclusion of the Meeting of Creditors to object to abandonment of the property of the

estate that is the subject of the motion.   If no objection or motion for extension of time is filed prior to the

expiration of this 14 day period, then the property will be deemed abandoned on the 15th day following

the conclusion of the Meeting of Creditors, subject to FRBP 9006(aX1).




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                                                                       Joel K, Jensen
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                                                         LERNER, SAMPSON & ROTHFUSS
                                                         Attorneys for Movant
                                                         P.O. Box 5480
                                                         Cincinnati, OH 45201 -5480
                                                         (sl3) 241-3100
                                                         (513) 241-4094 Fax
                                                         (817) 661-7891 Toll Free Fax
                                                         ekybk@lsrlaw.com
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                         NOTICE AND OPPORTUNITY FOR HEARING

        The undersigned certifies that a copy of the foregoing Motion for Relief from the Automatic Stay
and for Abandonment of Property was electronically transmitted on August 21, 2018 via the Court's
CM/ECF system to the following who are listed on the Court's Electronic Mail Notice list. Unless
within fourteen (14) days a written responsive objection to the Motion is filed with the Court and served
on the undersigned, an order sustaining the Motion may be entered by the Court.

       A hearing will be held only in the event a written responsive objection is timely filed and served.



Hon. Roger Toyray Adams - Attomey for Debtors
Roger Toyray Adams
PO Box 308
Paintsville, KY 41240
toyrayadamsbankruptcynoti ces@yahoo. com

J. Edwards, Trustee
PO Box 1779
Somerset, KY 42502
edwardstrustee@gmail. com

Office of U.S. Trustee
100 East Vine Street
Suite 500
Lexington, KY 40507
ustpregionO8.lx. ecf@usdoj. gov
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The undersigned certifies that a copy of the foregoing Motion for Relief from the Automatic Stay and for
Abandonment of Property was transmitted on August 21,2018 via regular U.S. mail, postage pre-paid:

William Charles Polly, Jr.
3 Broad Street
Van Lear, KY 41265

Angelica Jean Williamson - TitleHolder
3 Broad Street                                            /s/ Joel K. Jensen
Van Lear, KY 41265                                        Joel K. Jensen
                                                          Bar Regisration #gIg20
                                                          513-241-3100 x-3349

                                                    LERNER, SAMPSON & ROTHFUSS
                                                    Attorneys for Movant
                                                    P.O. Box 5480
                                                    Cincinnati, OH 45201 -5480
                                                    (st3) 24t-3100
                                                    (513) 24t-4094 Fax
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     Case 18-70393-tnw Claim 1-1                                       Filed     08/16/18 Desc Main Document Page 1 of 28

Exhibit A                                                                                                     Rear, the inslruclions before lilling out this ,orm. Use this lom lo make a
                                                                                                              clarm for payment in a bankruplcy c€se, Do not use this form to make a
Debtor 1 Wiliam Chartes po[y, Jr.                                                                             request for payment of an administrative expense. Make such a request
                                                                                                              according to 11 U.S.C. 5 5O3.
                                                                                                              Filers must leave oul or redacl informalion that is enlitled lo pri cy on
Debtor 2                                                                                                      this form or on any altached dccumenls. Atlaoh redaded copies of any
{Spouse, i{ filing)    _                                                                                      documents ihat support the d€im, such as plomissory ndes, purchase
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United States Bankruptcy Courf ior m", Eastern Districd of Kentucky
                                                                                                             judgments- mortgages, and s€curity agreements. Do nol send original
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Case number      1   g-70393-rnw                                                                              not aeailable, explain in an attachment- A person lvho ,iles a haudulent
                                                                                                              clalm could be Rned up to $500,000, imprisoned for up to 5 years, or both.
                                                                                                              f B U.s.c. $$ 152, 151, and 3571. Fill in all lhe inlormation about the claim
                                                                                                              as of the dale lhe cse was filed. That date is on the notice ol bankruptry
Official Form 410                                                                                             (Form 309) that you received.

Proof of Glaim                                                                                                                                                                  0,U16

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1.   Who is the      current        W8lls Fargo Bank. NA
     creditor?




                                    Name of the curent credhor (the person or entity io be pard for this ctaim)

                                   Other names th€ credilor used with the debtor


2-   Has this claim been           I      No
     acquired from
     someone else?
                                   f      Yes. From whom?


3.   Where should notices Where should notices to the credilor be sent?                                         Where should payments to the creditor be sent?(if
     and paymenls to the                                                                                        different)
     creditor be sent?             Wells Fargo Bank. N.A.                                                      Wells Fargo Bank N.A,
                                   Defauli Doctrmeat Processing                                                Allenlion: Paymenl Processing
                                   MAC# N9286-01Y                                                              MAC# F2302 04C
     Federal Rule of
     Bankruplcy Procedure
     (FRBP) 2002(9)




                                   N*                                                                           Name

                                    1000 Blue Gentian   RGd                                                     I   Honre Campus


                                   Nurnber           Slreel                                                     Number             Street
                                   Eagan MN 55121-7700                                                          Des Niloines IA 50328


                                   Cily                                                          ZIP Code      City                                                         ZIP Code

                                   Contactphone      800-274-7D25                                              Contactphone 800-274-7025


                                   Contact   email   POCNOTIFICATIOt'tSrdWELLSFARGO.COt",l                     Contactemrii        PocNoTIFICATIONS(@WELLSFARGO.COM




                                   Unirorm clairn identilier for eiecttooic paymenls rn chapter 1:j (ti you use one):
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Official Form 410                                                                     Prool of Claim                                                                             pa"qe   1
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                                                                            Document     Page 7 of 33
      Case 18-70393-tnw                                  Claim       1--1        Filed 08/16/18                  Desc Main      Document                     Page 2 of 28



 4.   Does this ctaim amend          Fl          No
      one already filed?             al Yes.             Claim number on court claims registry (if known)                                                    Filed on


      Do you know if anyone          E           No
      else has filed a prool         n       Yes. Who msde               the earlier filing?
      of claim for this 6taim?



            Give lnformalion About the Claim as of the Date the Case Was Filed

      Do you have any number    f-l                No
      Ioy     to identify   the E                 yes. Last 4 digits of the debtor's account or any number you use to ldentify ihe
          ":
      debtor?
                                                                                                                                   debior 2329


 7.   How much is the     claim?          $      49,6q6,S8                                          Does this amount include interest or other charges?

                                                                                                    Ll   t'to
                                                                                                    [E   Yes. Attach statement ilemizing interest, fees, expenses, or olher
                                                                                                              charges required by Bankruplcy Rule 3001 (c)(2)(A).

      What ls lhe basis of the            Examples: Goods sold, money loaned. lease, sen ices performed, personal injury or wrongful death, or credit card.
      claim?
                                          Atlach redacted copies of any documenls supporting the claim required by Bankruptcy Rule 3001 (c).
                                          Limit disclosing inlormation that is entitled to privacy, such as hea[hcare information.

                                          Money Loaned



      ls all or part of tlre claim       f        trto
      secured?                           [E       ves. The claim is secured by a lien on properly.
                                                           Nature of property:
                                                          E     Real estate. lf the claim is secured by the debtor's principal residence, lile      a   Molgage Proof of Claim
                                                                             Attachment (Official Form 410-A) wilh this Proof ol Claim.
                                                          [.]   Motor vehicle
                                                          tr    OINCT.    DCSCTibC:        3 BROAD STREET VAN LEAR KY 41265




                                                          BaSiS for      perfeclion:       Recorded Morloage/Deed ofTrust

                                                          Altach redacled copies of documents, if any;hal show evidence of pedection of a security interest (ror
                                                          example. a morlgage, lien, certificate of titte, financing statemenl, or olher document that shows the lien has
                                                          been filed or remrded.)



                                                          Value of property:

                                                          Amount of the claim lhat is secured:                   $ 49.646.58

                                                          Amount of the claim that is unsecured:                                      (The sum of lhe secured and unsecured
                                                                                                                                      amounts should nratch the amounl h line 7.)


                                                          Amounl n€cessary to cure any default as of the date of the pelition:                $   4,895.89



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10. ls this cleim base(l on a         i-!        ruo
    lease?                                   I   YFs      Amount necessary to cure any default as of the date of the              petition.   $


11. ls this clain.l subject to   a    ,!         No
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Official Form 4'10                                                                             Proof of Clairn                                                                   paqe 2
            Case 18-70393-tnw                             Doc 12          Filed 08/21/18 Entered 08/21/18 14:26:21                                  Desc Main
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  12. ls all or part of
      the claim               8ruo
      entitled to
      priority under          Q Y"r.    Check all that:apply:
      11 U.S.C. S
      507(a)?
                              E    Domestic support obligations (including alimony and child support) under '11 U.S.C. S
                                   s07{aXt XA) or (a)(1 )(B).
      A claim may be
      paftly priority
      and partly
                              E    Up to $2,850" of deposits toward purchase, lease, or rental of property or servicesfor personal,
                                   family, or household use. 11 U.S.C. 9507(a)(7).
      nonpriority. For
      example, in
                              E    Wages, salaries, or commissions (up to $12,850') eamed within 180
                                   days before the bankruptcy petition is liled or the debtor's business
      some
                                   ends, whichever isearlier.
      categories, the
      law limit-s the
                                    11   u.s.c. s507(ax4).
      amount entitled         E    laxes or penalties owed lo governmental unils. 11 U.S.C, gOOT(aXS).
      to priority.

                              E    Contributions to an employee beneit ptan.             1   1 U.S.C.   S   507(aX5).

                              D Oter. Specify         subsection of 11 U.S.C. g      507(a)( ) thalapplies.

                              "   Amountsaresubiecttoad.iustmenton4/01/lgandevery3yearsafterthaiforcasesbegunonoraflerthedateof
                              adjustment




               Sign Below

               claim must                Check lhe apqopriata box:
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              r).                        E    I am the creditor

              claim
               FRBP
                                         tr   | am the creditor's altorney or authorized ageni

              thorizes cou
              cal rules
                                         tr   I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004
              ai a signatur
                                         C    I am a guarantor, surety, endorser, or olher codebtor. Bankruptcy RulB 3005

              o files a
              aim could   b              I understand that an authorized signature on this Proof of Ciairn serves as an acknoudedgment that when calculating the
              orupto5                    amount of the claim, the creditor gave lhe debtor credit for any payments received toward the debt
              h.
              152,137, ar                I have examined the information in tiis Proof of C/aim and have a reasonable beliel that the informaiion is true and correct.

                                         I declare under penally of perjury that the foregoing is true and correct.

                                         Executed on date August 16, 2p]_q




                                                           Mia [-. Conner
                                                           KY Bar Registration #: 00625
                                                           513-e41-3100 x-3445

                                              Signature

                                     Print th€ name of the person who ,s compleling and signing thisclaim:


                                     l.l6me
                                                            First name                                  Middle name                  LasI name
                                     Title                  Case Altorney
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                                                            c-49qp11,                                                     Ohio              4520?
                                                            City                                                          StalE          ZIP Code

                                     Contact phone          {513)2.1r-_3-1(r0                                             ekvbk@lsrlaw.com



OFficial Form 410                                                               Proof of Claim                                                                   page 3
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                                                                       Addendum Paqe
     Basis for asserting lhal the applicable party has lhe righl to foreclose: Deb'lo(s) executed a promissory note secured by a rnortqage,
     deed o, trust, or securily deed. The Promissory note Is eilher made payable lo creditor or has been duly indosed. Creditor, ditectly
     or through an agent, has possession of lhe promissory note. Credilor is 'lhe oriqinal morlgagee or beneficiary or ihe assignee of the
     mo(gage, deed of trust, or securily deed.

     Additional Disclaimers (where appticable)



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                    Patt 2: Ouestion    I   Describe contains the property addres ahd may conlain a description for "Othef.

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                    Paft   1:

                    Full creditor name cannot be displayed due to space limitation, see 4I0 part '1.1 for full name.

                    Part2l
                   Principal Balane is from Part 5, Cotumn M as o, lhe Bankruptcy File Date.

                    lnterest Due is lhe interest due as of the Bankruptcy File Date.

                   Fees, costs duq is from Parl 5, Column P as of the Bankruptcy File Da'le and includes any outstanding fees (i.e- laie
                   charges. property inspeclions) and cost (i.e. altomey cosls), also included are corporale advances (i.e. tax, insurance)
                   for non-escrowed loans as of the Bankruptcy File Date. Any ,ees, costs due thal are incured pre-petition and waived
                   poslpetilion will not be included.

                   Escrow deliciencY Ior luods advanced is from Part 5, Column O (if negative balance) as of the Bankruplcy File Date.

                   Other includes any applicable Privale Morlgage lnsurance, other Optional Products (i.e- A & H, Lile) o, Berefied
                   Interesl, where appliEble, due as ol lhe Bankruplcy File Dale. This line ms added to ensure transparency.

                                                  is the total   oF   Parl 5, Column O (i{ positive balance) and Q as ol lhe Bankruptcy File Date.

                   Total Debl nol to be used for payotf purposes.

                   The Total debi figures in Part 2 of the Form 410A and the eorresponding figure h Parl 2(7).of lhe Form 4 10 include an
                   amount for the MIP\PMI premium(s) lh6t are due as ol the pelilion date but may not be disbursed lo the lhird party until
                   after the petition dale- These lransactions will nol appear in Part 5 ol the 41 0A because lhey are i)osl+etilion
                   disbursemenls. To the extent a breakdown ot the Olher amounl in Part 2 of the 41 0A is requested, it will be provkled.

                   Part 3:

                   Princioal and lnteresl is the principal and inleresl podion of Part 5, Column G, as o, the Bankruptcy File Oate. ilf
                   post-petilion payments are included as required by Local Rule or praclice, lhis fiekiwill include posl-petilion principal
                   and inleresl amounts).

                   Pre-Pelition Fees Due ,s from Part 5, Column P as of lhe Bankruptcy File Oate. Any fees, cosls due that are incuned
                   pre-petition and waived posLpelition will not be included.

                   EscrowDeliciencvforFundsA4vanced                   isfromPaflS.ColumnO{ifnegativebalance)asofiheBankruptcyFileDale-
                   Proiecied Escfoiv-Sjlolla(e is ths Escrow Required hom lhe escrow analysis minus a posiiive escrow balance as ol the
                   Bankrupl.cy File Date. (lf posl-petition payments are included as required by Local Rule or practice, this fleld will
                   include posl-petition escrow amounls).

                   QlIgr includes any applicable Optional Products (i.e. A & H, Life) due as of lhe bankruplcy file date. This line was
                   added 10 ensure lranspafency. (ll posl^petition payments are included as required by Local Rule or practice, this field
                   will include post-pelilion Optir,nat produrl amounts).

                   Less Funds on Hand is irom P?rl 5, column Q as of the Bankruptcy File Date.

                   Part 4:

                   ootional Producls inclurJes any applicable oplional products (i.e. A & H, Life) due as ol the Bankruptcy File Date. This
                   line was added lo ensure transparensy.

                   (-)This disclaimer has been added to lhe torm to explain lhat the monthly paymenl amount may change periodically
                   throullhout the lile 0f Ihc loan.

                   Parl 5:

                   Ii anv ol the lransactions ln lhe loan payment history conlain amounts for optional producls, the amounl for that
                   product will be reflecled ln either the Contractual paymenl amount or the Funds Received arcunl, and will be applied
                   in lhcse amounts. lt will also be reflecled in mlumn G as described beloty.

                   Columr G ln addilion    10 thc ilems iisl6d, this also includes any p3st due Pl,,tl or optionat products (r.e. A & H, Life)
                   anrcirnls. as applicable_ Optional produc_l (i.e. A I H, L fe) amounls will not be included in co umns H O due to no
                   appropri6te column heading for tfris lype of transaction

                   Colupll      inctudes t3xes, iDsurarrce ard Mlpi p&I as applirable.
Case 18-70393-tnw          Doc 12
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            Columfi N willonly be populated if the loan is Daily Simple lnlerest or if Deterred lnterest exists on lhe arxount

            Column O includes laxes. insuranE and MIP/PMl as applicable.
       Case 18-70393-tnw                 Doc 12    Filed 08/21/18 Entered 08/21/18 14:26:21                     Desc Main
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                             Wells Fargo Home Mortgage                                ESCROW DISCLOSURE STATEMENT
                             One Home Campus                                  AND NOTICE OF NEW MORTGAGE PAYMENT
                             Des Moines, IA 50328-0001
                                                                                     Loan Number:
                                                                           Next Payment Due Date:                    1t1t2018
                                                                        New Payment Effective Date:                  7t1t2018
                                                                             New Payment Amount:                     $453.00
                                                                                  Statement Date:                -   81912018
                                                                                     Interest rate:                 5.5000%
  WILLIAM   C   POLLY
                                                                                 Principal Balance:               $46,322.77
  3 BROAD ST
 vAN LEAR, KY 41265-8616



 propefty address if applicabte



 Each year, we review your escrow account to make
                                                  sure the escrow portion of your scheduled mortgage payment covers
 your property taxes and/or insurance premiums. Increases
                                                          or decreases in your annual taxes and,/or inrrrunce premiums
 may cause your mortgage payment amount to change.
                                                      Here are the details of your most recent escrow account review.
 Please take a moment to look over your new escrow
                                                   and mortgage payment detairs.

 PLEASE NorE: This notice is being provided for
                                                  informational purposes only. As a result of at least one bankruptcy case
 filing that included the above referenced account, wells Fargo is
                                                                   Nor attempting in any way to violate any provisicn of the
 united states Bankruptcy code or to collect a debt (deficiun-.y
                                                                 or otherwise) from any customer(s) who is impacted by an
 active bankruptcy case or has received a discharge, where the account
                                                                         was not otherwise reaffirmed or excepted from
 diSChATgC. THIS IS NOTA BILL OR A REQUEST FOR
                                                      PAYMENTASTO THESE CUSTOMER(S).



 New escrow and mortgage payment amount
 New Payment Effective    Date: l/ttZOL}
                                                    Current                New
                                                    Payment              Payment
Principal &/or Interest
                                                    $294,68               $294.68
Escrow payment
                                                    $ 1 s8.37             $1s8.32
Prorated shortage
                                                     $0.00                 $0.00
Optional Insurance
                                                     $0,00                 90.00
Tota! Payrnent
                                                    $4s3rc
If you use one of our automatic payment options, vve
                                                     will adjust your electronic rrrithdrar,val to
ensure your 07/Ol/lB payment is made in full.
If yourcurrent payment includes an amount to covera previous
                                                                 escrow shortage, iltis amount wili be added. If your
current payment includes an adiustment for extra funds you
                                                             deposited to your escrow account this amount will be
ded ucted.

Customer Service:
(Boo) 340-0473
Customer Service Hours:
Mon-Fri 7 a.rn, - B p-nr. Central Time


When you send in a check to make
your payment, Wells Fargo Bank, N.A.
may clear the check electronically.
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The following inFormation covers your projected escrow account activity from
07/ot/t8 to 06/01/19.

Projected escrow account disbursements
Annualized items to be paid from your escrow account ($):

Hazard lnsurance                                        $920.27
FHA                                                     $406.56
County Taxes                                            $s72.97




Total disbursements                                  $1,899.80
Scheduled escrow payment                                $158.32

               Projected escrow account activity for the next 12 months

          Anticipated pavments     $                                                         Escrorr Jalaneel
                    To                 From                                            Projected          Required
     Date          Escrow              Escrow               Description                 Escrow             Escrow

  020.1/18         $1s8,32             $33,88 FHA                                      $t,SZg.St             $1,368.80
  o8/oi7l
  08/01/18             $0.00           g9ZO.27    Hazard Insurance                      $s33.s0               $s72.97
  09/01/18         g1s8.32             $33.88     FHA                                   s657.94               $697.41
   t0/9!1LB        $1s8.32          $33.88        FHA                                   $782.38               $821.8s
   ro/aurc             $0.00        $572-97       County   Taxes                        $209.41               $24B.BB
   tr/avtB         $1s8.32          $33.88        FHA                                   $s33.85               $373.32
_!?/9U18           $1s8.32          $33.88        FHA                                   $458.29               $497.76
  0u01/19          $1s8.32          $33.88        FHA                                   $s82.73               $622.24
  02/out9          $   158.32          $33.88     FHA                                   $707.17               $746.64
  o3loL/rg         gls8.32             $33.88     FHA                                   $831.61               $871.08
  a+lol/Lg         g1s8,32             $33,88     FHA                                   $9s6.0s               $99s.52
  ]510t/te         $1s8.32             $33.88     FHA                                  $1,080.49             $1,119.96
  06/out9          $ 1s8.32            $33.88     FHA                                  $1,2O4.93             $1,244.44
Total              1.899,84         1,899.80

These calculations indicate the projected escrow balance will be less than the allowable low point.
The resulting shortage is           -$39.47. An Escrow adjustment of                            939.47 is scheduled
to be repaid through bankruptcy.

The projected escrow account activity is based on the most recent tax and/ar insurance information available as well as the
assumption that your payments will be received as agreed.

Projected low point. The point during the annual period at which the projected escrow balance will reach its lolvest point.
Required escrow balance. To cover unanticipated disbursements, including increases to tax or insurance payments,
there is a 2 month minimum escrow balance allowable by state law and/or your mortgage contract. This amount does not
include moftgage insurance.

+Your Z-month minimum escrow
                                  balance is g248.gg
*state law requires that this minimum escrow balance not
                                                         exceed g24s.BB
*Note: Ifyou have an adjustable rate mortgage (ARM), you
                                                          vrill receive a notice about your new
 mortgage payment when your ARM rate is scheduled to change.
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 ffiffi               WEI,I.S FARGO HOME MORTGAGE
                      PC) Box 14547
                      Dcs Nloines, 1A i0106-354?




 Escrow Deposit                  Jul2O17                       $169.8e   5r,139.77
 FHA Insurance                   lul 2017           (S34 62)             Sr,ros.t s
 Hazard lnsurance                )ul2O77         15e20.27                 S184.88
 Escrow Deposit                  Jul 2017                      s169.89    5354,77
 FHA lnsurance               Aue 2017               ($34.62               s32o.1s
 Escrow Deposit               Aug2017                          s159.89    5490.04
 FHA lnsurance                Seo 2017              (53+.e21              54ss.42
 Escrow Deposit               Sep 2017                         S169.89    s62s.31
 FHA lnsurance                Oct 2017              (534.62)              ss90.69
 Escrow Deposit               Oct 201.7                        S169.89    s760.s8
 FHA   lnsurance             Nov 2017               (5e+.oz               Szzs.ge
 3ounty Tax                  Nov 201.7          ($s72.e71                 S$2.e9
 :HA lnsurance               Dec 2017               (S34.62)              s118.37
 lscrow Deposit              Dec 2017                          S169.89    Szse.zo
 :HA Jnsurance
                              Jan 2018              t534.62)              s2s3.64
  scrow Deposit               Jan 2018                         s16e.89    s423.s3
 :HA lnsurance
                              Feb 2018              {s34.62)              5388.91
 FHA lnsurance               Mar 2018               (534.62)              Sss+.zs
 FHA lnsurance                Apr 2018              (S34.52)              Strg.oz
 FHA lnsurance               May 2018               (S::.s41              528s.79
 FHA lnsurance                Jun 2018              (s33.88)              S25r.91
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                   Bonowu hss thc riBhl lo pay Oc <lebl evidenced by thir Notr, in iholc or ia prrt iithout chargc or penolry, on $c rirct day
           of gly month. Lmdcr shall ampt preplymcnl on other drys provlded thai Bonower piy3 lIlte}lsl on tbe smount prepaid tor the
           remaindcroft}clnoilhl,olhce)ientrcquircdbyLcndcrrndpcrnincdbyrcgulationsofthc.sccrctrry.              IfBonoutrmekcsaparrial
           Preprymcnl" th.rE will bc no chmges in the duc dars or in trc amomt of lhc moothly payment.unless Larder agrcas in writing to rhose
           chugcs,

           6.      BONNOWER'$PAILURETOPAY
                   (A) Lrtc C-hrgG for Ovrrduc Pryments
                   If l$der hss not mivcd the full monrhly pymcrt rcguicd by rhc Scurity lnsrumcnt, as describcd in Paragrsph a(C) of
           this Not, by tbc cnd of lifteen (l 5) calendor deys aftcr rhc prymem is duc, LErdcr may mllcct s latc chargc in Oe omoont of Fors
           pcrcent (a,00%) ofrhc ovcrdur rmiiunt ofcach paymrnr.
                      (ElI    Dctoult
                      lf Borrcwr
                              dcfaults by feiling lo pay in tull any monthly puymcn! thrn Lmdcr may, cxepr Es limircd by rcguladoos of thc
           S.cc{lri
                  i0 lhe case of payment defeuhs. rcquirc immodiatc poymcnt in full of rhc primipol bdaacc rernaining duc end all acryucd
       ir$cresl. Lendcr may chm Bol io €xerch€ $ir option witbout waiving is righs ln thc $anr of any srrbsrqulnr &faulr In many
       cirtunnances rcgulations issucd by thq Sccrctary will limit Lcndc'r rights to rtquirc irnmcdiarc pryrncnt in ftrl! io ths case of
       paymcnt defrults. This Nott docs not authorize acelemrion when not permilr€d by HUD rcgulitions. As used in this Nolr,
       "Sccreary" mmr lhc Secrcmry of Housing ond Urbu D:wlopmert c hir or hcrdcsignee.
                      (C)     Pa;mrnt ofCosts end    Erpcts
              lf Lender has rcquircd immediate poyment in full, re     dwibcd         abovc, Lcndcr may rcquirc   Bomwa to pay   $500.00 for oosti
       md cxpcnscs for cnforcing this Notc.

                     WAryERS
                Bonowcr td any othcr pcrsoa llio has oblig*ions rndcr drk Note wBivc tic rigbts of pElcrtncrt rrld notic of dishmor.
       'PrEscrlmcni" mcans lbc right to requirc thc Lcndg lo d.mand paymmt of munrr aui. "Notict of dishonor' rDe6ns thc ri8)fi to
       Equire lalder !o gjw noticc to olher pcm$ thel amouB due havc not bccn pirt.

       E.          GIVING OF NOTICES
               Unl6s sPplicablc lsw requircs r differenr me$od..any oolicc $atmusr bc giyen !o Bonowr under $is Nota will bc givcn by
       deliwring it or by mailing it by frst class mail lo Bomwcr rt thc propeny ad&css aboyc or ar a di(Ierrnt cddrcs if Borcwcr he
       givm Lcnder a ooticc ofBorrowcr,s diffcrent addrm
               Any
       -Pamgraph 4(B)noticr  fiif mltst br givrn to Lcnder under fiis ].lotc wilt bc givcn by firsr clasr m.il lo Lcnd.r at th. rddrEss ctstcd in
                       or 0f s differcnt lddrss if Borower ie giwn e mtice of thet different addrcs.

       9.        OBLIGATIONS OF PERSOI{S UNDER THISNOTE
        _        lf mc $rn om person signs this Notc, each person is.firlly ond pcrsondty obligsrtd to kcep rlt of thc promiscs mede in this
       -                                                                        'rdro                                      -rhir
       Nol-e, including thc pomise to pry the full amount owcd. Any p.oon             is o'paranror, surty or cndorser of        Norc h also
       ob)iBAled !o do lhcsc things. Any pxson who ulcs over rhese obligarionr, includin! the obligations ofa guranmr, suety or €ndoBcr
       ofthisNorc,isalsoobligaredokeepallofthcpromisesmedcinthisNotc. Leoder-mayeafoiriBilghtsundmrhisNotaagainslch
       pcrmn individuelly or agoinst all signaories togethei. Any one parsol signiog lhis Nois may bc requircd to pay atl of thc mounts
       owcd under $is Note.




       FEA KENTIJCKY        F;cd Re   Norc

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     ),.      r.r




            BY SIGNING BELOW, Borrower mcepls and sgrscs b thc Ems   ud mwmts   containcd in this Noie.




                                                                                                lo he o'der o[:
                                                                       Wthout recourse'   PaY

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           FHA KENTUCKY Eir.d   n tr   NoE                                                                            t0D5
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               rnodifications of the Note; (b) the prymcnt of all othcr sums, with intercst. advanccd undcr pamgraph 7 to
               protect ltre security of this Securfu ln-sronrent; lrd (c) rhe perfomuce of Boncryer's coyenants and
               agrcemeD$ uodq this Security InstrumEnl ud lhc Notc- For this purpose, Bonc;ver does hcreby mongagc,
               grafll and convey to MERS (solely as nomince for Lmds and Lender's sffcessors and assigns) ed to rhe
               successors rnd oisigtrs to MERS, lhe following described prcperly locared in JOll NSON Counay, Kentrrcky:

               SEE EXHIBIT           "A'' ATTACHED     HERETO AND EY THIS RETERENCE :I4ADE                       A   PART
               HEREOF.




               Trx Prrccl lD Nuhb€n V62+l{G023.00
               qhichbaslhcsddrcssof3BROADSTRI,El'lsrrdl,Vrntarrlcir.vl,Kranrcky                      4t?65 lzircodrl c'Propcnl
               Address');

               TOGETITER 'rYlTtl nll lhc imprcwments now or hercafter er€c{ed or rhe propcrty, and all easemenrs,
               apPunsaoccs, and fixtures now or hoeafter a lurt of $e prcp.f,y, A ll rcplaccmcnls and additions slrall also
               be covered by this Stcurity lostrumeDr. Al, of the forcgoing is relcncd to in this Sccurily lnstrumill as th€
               "ProPerly-" Borrcqcr uDderstilds od agrees that MERS hotds on,y legel title to the irteresB granred by
               Borowcr in grlt SEsurity lBstrumcnti bui, ifneccssary to comply with la* or cusrom, N.IERS, (as nominee for
               l.ende: and Lcnder's successors and assigns), has the righl: lo exedise any oc all uf rhusc inrercsrs, including,
               brl not linriled to, thc righr to foreclose and sell rhc Property; and lo take any action required of Lender
               including, but not limited to, rclcring or canceling tllis Smurity lnstrutrrcnt-
              BORROtrVER COVENANTS lhal lSorrower is lavfully seized ofthc €stale hereby conveyed and has the right
              10moflgage, grart and convey thc Propeny and &ol lha Properry is unencumbered, except fo, eocumbrsrces
              of rccord, Bonower wanants aad will defend generally thc fitlc to thc Prcpcrty against Ell claims and
              demands, subjecl lO aBy encumbnnces ofrrcord-

              I'HlS SECURITY INSTRUMENT combines unifom cgvttrants for national usc ud Bon-unililm Govcnanls
              wilh limited voiarions byjurisdiction to coostitute a unifom scurity inslrumcnt covrring real properry.
              Bonowcr atrd l-cnd6coyenanl 0nd agEe as foilows:

              Uniform Coyenants,
              l.   Prymcnt ofPrinciprl, lhlrrert and l-nte Chnrge. Bonower shall pay when due the principal of, and
                   int*est or, lhe debt cvidcrccd by lhe l{ote and lare chages duc uoder lhc Notc-
              Z.   Nlonrhly Pryment ofTercs, lnsurlnce and Other Charges. Bomrverstall include in each monthly
                   payman(, lotqthcr u,ith the principal and intcrcsr r scr fonh in rhc Norc md any lare chargcs, a sum for
                   {a) taxes and spccial assessmcots levicd or lo tc levied agairst lhe Propeny, (b) leasehold payments or
                   ground renls ol thc Propeny, rod (c) prcrriurrrs for insuancs rcquired under paragraph 4. lo any year tn
                   which the LLtndcr rnxsl pay a Dongag€ insurance prcmiun ro the Secr€rary of Housing md Urbrn
                   DeYelopm€nt ("Secrelary"). or in ony 1,eor in which suel protriurn would hrve bcen required if Lcndcr
                   still hcld lhc Sccurity lnstrumenl, each nonrhly pa-varcnt shall also includc either: (i) a sum ,or the annuil
                   mongage insurance prerniutn to bc paid by Lcndcr ro rhc Secrerary, or (ii) a nrcnthly charge iDsteid of     l

              f HA ]!to(ga8e WiL\   MERIKy                                                              R(vDcd 1.90 Amrded   ll0l
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                       nrorlSage insuraDce premium ifthis Security lngBumcnt is held bl the Secrerary, in a reasonablc amount
                       to be detemined by tle t*crelary. Except for rhe monthty charge by the Secremry, rhese irems are crl!:d
                       "Escrow ltems" and the sums paid to l.ender arc cal led "llscrorv lirnds."
                       Lcnder may, at aDy rime, collcca and hold mounts for Escrow ltems in rn aggregate smouna not to
                       cxceed thc muimum smobnt thst may be required for Bonowcr's csrrow aeount under the Real Es1alc
                       Settlement Procedurcs Acr of 1974, l? U.S.C. Sffition 2601 et seg. wtd implementing regulations. 24
                       CFR Pan 1500, ss (bcy may be amendcd from rimc to rime ("RDSPA"), except thal the cushion o, reserve
                       pemined by RESI'A for unanticipated disbursements or disburemf,ts beforc thc Borrowcr's paymenrs
                       are availablc in thc account may not bc bascd on amounls due lor rhe mortgage insurance premium.
                       lf th! amounls held by lxnder hr E.rrou ltcms exceed the anouDts pemioed to be held by RESpA,
                       Lcodcr shal) accornt lo Borcs'cr for lhe excess funds as requircd by RESPA. lf lhe amounts of funds
                       hcld by Lender st any timc 8!c nol sufficient to pay the Esqorv ltcms rvhcn dus, Lmder may notify ths
                       Bonower and rcquirt Borrower lo make up thc shonage as permhrerl by RESpA,
                       TheEscrcwFundsarcplcdgcdasadditionalsecuriryforall surnssecurcdbythisSrcuritylnstn:merrt, tf
                       Bonower lmdem to Lender rhe lull psyment ofa)l such sums, Bcrmver's account shrll be creditcd whh
                       the balancc rcmaining for all iqstrllmcnr itcms (a), (b), and (c) and any mortgage insorancc premium
                       inE(allmant that Lender hre not become obligated !o pay ro rhc Scc.erary, and Lender shall pmmprly
                       refund ary txscss funds to Borcwer. lmmediately prior to a forccloslre sale oJ'the Propeny or its
                       acquisilion by Lender, Sorower's 4count shall be cr€dit€d with any balmce remaining lor all
                       iostallilenls for itms {a), {tr), and (c).
             3-        ApplautionofPsym.nte All prlmentsunderparagraphs land2shallhe appliedbyl-enderasfoltows:
                           flltE to rhc rnodBrse illuralER premium ro b€ paid by Lender tg the Secrelary or.lo ths ,non$ly
                           chrge by the Secrctary inslead ofthe monrbly moftgage insuruce premium;
                           Second, to sny taxes, special assessrenrs, luehold paymenrs or ground renr, and fire, flood and
                           othcrhffid     insuance premiums, as requircd:
                           lbkl   to itrtercst dDc urder thc Norc;
                           Equrrh, to smonialion oftle principal ofthe Nore; and
                           fi[!, to l*c ehrges due ondcr llE Note.
             'L     Fire, Flood rnd Other lIazlrd Insura[rc. Bonowe; sball insurr alt improvements fr rhe Property,
                    whclher nov iD cxislencc or subscqurnlly Er€cted, ag,ainst any hazards, cuualtics. and contingcncics,
                    including firc, for rvhjch Lender requires insumce. 'lhis insurance shajl be maintained in the amounts
                    and for tbe periods thal Lendcr rcquires, Borower shall drc irtsure all irrproverrrrrts on the Property,
                    rvheaher oow in qisrcnce or suhsequenrly erecl€d. againsl loss by lloods to thc cxacnt rcquired by rhr
                    Seqeury. All insunnce shall be canic{ with ornparics approved by Lender. I'he iasumnee po}icies
                    and any renewals shall be held by l-ender and shall include loss payabtc clauses in favor of, and in a fom
                    ecceplable io, LcDder.
                    ln thc cvcnl of loss, Borowcr shall give Lelder in:rurdiarc nurice by nail, l.en<Ier may make prmf of
                    krss ifnot madc promptly by Bonowrr, Each insurance ompany conccmcd is hereby authorized and
                    dirtoed to nralie paymtnt for such loss direcrly to Lelder, instc*,1 of ro Booower md to Lenderjoinrly.
                    All or any pan of the insuratrcr proce€ds rnay be apptied by l_enrl:r, at iLe option, eilher (a) lo tle
                   rcductiDn oflhe iodtbrcdncss uodcr lhc Nolc and lhis Secur;(y Inst(umenl first to any d€[inquent emouots
                   applied in the order in puagraph J. and then to prcpaymenl of priDcipal, o, {b) to rhe resroration u rcpair
                   of thc damagcd Propcrry. Any application of the pmceeds to rhe principal shall nor c.\t€nd or posrponc
                   lhe due dale ofthe monthly paymcnts which arc refmed to in paragraph ?, or chnnge the amouot ofsuch
                   Payments- Arty crccs insurancc procrcds over an amount required lo pay all oulstanding indcbledn$s
                   under the Notc aod this Srcurity lns(rumcnl shall bc paid to lhB eority legally enritled thveto,
                   ln thc event oi foreclosure of thls Security Instrumenr or othcr trusfer of lille to thc Property that
                   extinguishes the indebtedncss, aii righl, litle and interesl oI Bonower in and ro ir.surance pnliciJs in ficrce
                   shall pNs to the prrchdcr.
            5. OtcuprncS Prcsenrliotr,           l\lritrtenaDre ond ProteEtioD of the propeny; B{rrorver,s Lagn
                  .{pplleorioni Lraseholds" Bonower shalt occupy, e:tab}ish, and usc the ttopcrty as Bonower's
                  principal residcnce within sirty days afler the cxecution of this Sccuritv lns1run)ent (or wilbin sixtv days

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            i\iili') {i l0l )                                    Pagt   -l,r:'9
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                      of a lalrr
                              salc or lrmsfer of ih. Prcperty) and shall conti[uc to occupy thc PDpcrty as Borrowcr,t
                   principal rcsirlcrce Ior al leasl one yesr aflrr thc datc of ocupilcy, unlcss Lcnder dctemines that
                   rlquiremcnl will caitse undue harclship for Bongwer, 9r unhss cxtcalatiog circumslarcs cxisl which il€
                   heyond Brxrower's conlrol. Bomwer shall noti! Lmdo of my e\.tct)Lating circuffistinccs. Bonower
                  -slall not commit wastc ol dcstroy, dmage or subsratially chmge rhe I,roprrty or allow thc propcrry to
                  dcterioralc, rcasotrablc wr'ar and tcu cxccpted. Lendcr may inspect rhc Property ifthc Propcrry is vacant
                  or abandooerl or the loan is in dcfauh, Lcnder may t:le reasonabls action to protecl md lxescrue such
                  vacul or abmdoned Pmperty. Borrcwer shall als be in dcfault ifBonower, during the loan application
                  process, gaYe Datetially falsc or jnaccurale informatiotr o, strtrrcnts to Lcnder (or failed to provide
                  Lender wilh aDy Dnlerial infomtallon) irl conmajon *hh thc loan evidenccd by tbc Note, including, bul
                  not limilei tq reFcsetrlations conceoing Iloroweis oc4upancy ofthe Prop€rty as a principal rcsidcare.
                  lf this Security Inslrument is oD il leaschold, Bonowr shall comply wirh rhe provision5 of rhe lease. lI
                  Bonowcr acquircs fee tiale lo thc Propcrly, thc lcasehold and fec titlc shall rct bc mcrycd urlas Lcnder
                  agrc6 to Lle rncrgrr in writing.
             6,   Condtmration. Thep.ocrcdsofuyau'ardorctaimfordamagcs,directorcanSequotial,inconncclion
                  rvith ary rondemnation or othcr taking of any part of thc proprrty, or lu convcyance in plne of
                  condemnation, are hereby asigned md shall bc paid to Lsnder lo the extcnl of Oe full 0mo[rt of the
                  indebtcrlness lhal rcmains unpaid uldcr lhs Note and this Scurity tnrrrumcnt. Lcndcr shall apply such
                  ptocecds to ihe rcduction of lhc indebtdnesr under ftc Note ud this Security lDstrumeB], firsl to any
                  delinqtrenr amounls applied in the ordcr prcvided in pnBg{aph J, and rhch to prcpaymcnt of principal.
                  Any applicatiot) ofthe proceeds to the principal shall trol cxr6d or postponc lhc due daic of the monthly
                  paynleils, *hich are refenrd to in pamgraph 2, or change thc mouot of such payrnenb. Any €xccs
                  preeeds over an amount ,cquired to pry all ouBtanding indebrednes-s under rhe }rlotc and this Securiry
                  hstrumeot shall bc paid lo the e [tity lcgally enrirled thcrcro.
             7-   Chrrgcs lo Bolro\rrr and Prot*lion of            l*nde/s Rights in tbc property. Boroyer slull pay all
                    govemmenlal or municipal charges, fines and imposilioos lhat aft not included in paragraph 2. ,Bom's
                    shall pay thcsc obligarioos on tinc direoly ro fiB enriry which is ored fte payf,em. lf failure ro pay
                   would advcncly affrct Lender's irleresl in the Property, qnn l-ender's request Bonowcr shtll pmmptly
                   ftrrnish to [.ender receipts evidcncing.thcse paymeDis.
                   IlBorc*er fBils to nlale rlrcse paymcnts or thc payments rcquired by paragraph 2, or fails !o perfom
                   any other col'cnants and agrccments contaiocd in rhis Secrnity lnsrument, or there is a legat pmceerJing
                   lhat.ntay significaotly affect Lender's righrs in rbc Property {such as a procceding in bankruptcy, for
                   corrdtmnation ur io cnforcc larvs or regulolioos), then Lenda may do and pay rvhatever is nec"ss"ry to
                   prorEct the valuc of rhc Propert-v and Lender's righrs iD lhc propert), iocluding payment oftues, hazrd
                   insurancc and orhr irems mcntioncd in paagraph 2.
                   Aoy atnoutrls disburscd by Lcndcr undr this puagraph 5)ralt becomc an additional dabt ofBrrowcr and
                   be secured by this S*uriry lnstrurncll. Thcsg alrouots shall bear inr€rcat frorn the drtc ofdisburscrncnr,
                  at thc Notc ratc, atrd ar rhc option of l.ender, shall be immediarely due ud payable_
                   Bonowcr shall promptly discharge any lien wlrich hrs priority ovr this SecuritS' lnsrrumena unl€ss
                  Bodor{er: (a) agrees iD uritioE to the paymenr of rhc obligatim securcd by rhc lien ir a manns
                  arccPlable !o l-tndcr: (b) conlcsts in gmd fairh thc licn by, or dcfends against e,|forccmenl of the Iien in,
                  lcgal pmccediogs which in rle l.en&r'$ opjnioa operalc to prcvcnt fic eoforcemenl of the licn; or (c)
                  secures from rhc holdcr of thc licn an agrEe[rent satisfaclory to Lcnrjer subordirarirg the lisn to this
                  Sccuriry lrsrrumenr Tf Lender detcmincs that atry pad of rhe prcperty is subject ro a licn which mly
                  alrajn prioriry o*er this seuriry lnsltumeot, Lcnder may givc Donower a noticc idcnrirying rhc lien.
                  lJonower shall satisfy thc licn or lake onc or ntore of the actions sct forth abovc within l0 davs of rhc
                  giving olmtrcc.
            ,l-   I€e$. Lender ma,.- collccr fees and cherges authorizrd by the Secretrry.
            9-    G   rourrls for Accclcration of Dtbl,
                  (r) frefiula-    Lender oray, elcept as limited by regulatioos issued by lhe S€cretary, in the case of
                        pa-vment delaults, rcquire immediate prymenl in full ofall sunrs secured by thjs Securitl lDstrument
                           if
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                           (i)    Horrowet defaults by failing to pay in l"ull any moothly pryn(nl Equircd by this Sccority
                                  lDslrument prior ao or on the due date oFlhe next monthly paymeilt, or
                           (ii)   Bonower defaullr by failing, lor a period of rhiny days, to perfornl any orher obligations
                                  conrrincd in this Security lnsuumcnt.
                     (b) Srl.lvilhoutCrcditApproyrl. Lendcrshalt,ifpcfinincdbyapplicablciaw(inrludingScction34
                         l(d) of lhc Garn-St. Cemain Dcposhory lnstitulions Act of 1982, l? U.S.C. t?0 l.i-3(d)) anrl sith
                           the prior approval of the Secretary. reguire immcdiatc payment in full of all sums sccurcd by tbis
                           Security lnslrumcnt if:
                           (i) All or pan of thc Propcny, m a hemficirl inrerest in r rrut mnilg all or prr of rhc Prcpeny, is
                                sold or otheruise iransfened (othcr thm by devise or descent). ud
                           (ii) The Property is not occupied b1' tbe purcbaser or gBntee ar his or her principal ,esidilce, o{ the
                                purchaser or grantec docs rc occupy the Property but his or her credit hs not been apprcved in
                                accordance rvirh rht requiremen* of the S€crelary.
                     {r)   No W:iven lf circumstances occur t}rt woilld pcrmit Lrnder to rcquire immediatc payment in full,
                           but Lcndcr do6s rct rcquire such payments, Lender docs not waive hs rights whb rcspccl ao
                           subscquq)t clcnts.
                     (d)
                     RrgulraioDs oIHUD Secretry. In many cimurDstanccs rcgulsrions issued by the Secretary uill
                     limit Lendcr's righq in rhe cxe of prymenr defrults, ro require immudiate payrent in full rnd
                     fo.cclosc if tot paid. This Security lnstrumcnt does not arnhorizc accelcmtion or forrclosrre if not
                     pcnhjttcd by rcgulations ofdre Secretary.
                 (e) Mortgrg! Nol ltrsur<l, Borcucr agrc€s that if fiis Sccurity lnstrumenl and rhe Note ile not
                     dtrmlioed lo be cligihle for insrane undcr thc Natioul Housing Acl rvilhin 60 days from the dat.
                     hereof, Lendcr may, al it3 option, ,rquir€ imsediate payment io full of all sums srcurcd by lhit
                     S*urity lnslrumcnL A wrjtten stal€ment of rDy orlhoriz.ed agent of the Secrelrry drted srbscqucnt
                     !o 60 days fmnr thc datc hcrco[ dcclining ro insrc this Sccuity lrtrument and the No'tc, shall bc
                     deemcd conchtsive pmfof suth incligibility. Norwithsanding rhc foregoing, this oprion ms) not be
                     excrcised by Lcnder whcn lha unavailability ofinsurum is solcly due to Lmdcr's failurc Lo remil a
                     mortgagc jnsurancc prcmiuD to the Secr€1ary.
            10, ReiltstalcrneDt. Borrower has a right 10 be reinstated if Lrndcr hu rcquired immediate psym€nt in fu]l
                bccause of Borowcr's foiturc lo pay aD amounl dDc under the Not€ or ftls Securi(y lnsrrumor. This
                rigbr opplies even nfter forcclsurc proccedings [re instr'tuted. To rcimrale rhe Sccuriry lnsrrunrcni,
                Bonou'cr shall lender in a lump sum all amounts rrquircd to bring l3orowrr's acccuni corent iocluding,
                lo thc exlcnt they uc obligations of Bomwq under this Sccurity Instrumcnl, forcclxurc costi and
                rcasonable atrd customary attomeys'lce and cxpmsm prcpcrly ssfrictcd with thc forelosorc
                proceeding. UponrtinslalemcnibyBorower,thisSecurirylnsrrunenrandrheohligationsthatitsecures
                    shallrcmainincffectasifLendrhadnotrequircdimmerliatcpaynrcntinfull. Horvcvcr,Lcrdc(isnoi
                    requircd ro pcmjt rcin$rrcmtnt it (i) Lender has accc?lcd rcinstatcrnent afle, (hr commtNcnrcrl of
                    foreclosure proccedings sjihin tlo ymm immediately preceding lhe comtnencemc,rl of a cumelr
                    for+closurc proceeding, (ii) rcinstatement uill prwlude iuroclosure dr aliffrtDr grounJr iD fie fururE. o,
                    (iii) rcinsialcmcnt rvi)l adverrely aflecc the prioriry ofthe lien crcared by this Securiry tnstrument.
           I   l.   Borrower Nol Rctersed; Forbea rsnce By Lender Nol * Wqivrr, Ertension of lhe tinr€ cf p0ymcnt ar
                    Dtodjficaricn ofamoniation ofthe sums sxurcd by this Sacuriry Instrumcnt grar(ed by Lender ro sny
                    rrcccssor in int€r€st of Bonoser shall not opemre ro release the liabiliry of rhe origircl Bono*,er or
                    Bonower's succesgDr in interqt- Lender shall not bc reguir€d to comnelce procedings against aly
                    swcessor il inletest or retusc to cxlmd lilltc for paymelt or orherwise modi& amoni-ration of rhe sums
                    secured hy lhis Sccrrrity lnEtruDent by reason of any demand made by lhe original Bomrvcr or
                    Bonower's successors in intcrcg. Ary forbearance by Lendcr in exercising, uy right or remedy shall nol
                    be a waiver ofor preclude the e:rercise o[ any righl or rcm€d].
           ll,      Succ(ssors rnd .{ssigrs Boundi Joirt rnd Srverll Lislrililyi Cesigners. Tbc coycoMts snd
                    aBrcemcnls ofthis Security lDstnrment shall bind and hcoefit ih€ succcssors and assignr of Lender and
                     Eomwer, subjtcl to thc prcvisions of paragraph 9(b), Borrorver's r()venmts and agrcemcnLs shall he
                    joirtandseverai. AnyBonoweruhoco-silnsthisSecurilylnsrrumcntbuldo€snotextrut€lhaNDre:{0)

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           4N(KY) ( ll0] )                                         P!9.   ! of9
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                      is co.signing rhis Security lnstrumenr onl], to martgoge, grant and mnvcy thal Borcwcr's interelt in th€
                      Prqxrty under lh€ rems of rhis Sccurity lt]sarunEtrt; (b) is not perrcnally obligatcd ro pay thc sums
                      secured by this Sscuriry lnsrrumnt; and (c) agrees that hnder and any other Borower may agrce to
                      extend, modify, lorbeu or make my accomnodotions with rcgand to the tems of this Security lnstrumena
                      or lbe Nolc wilhoul that Borcwer's coosent.
               tf,. N0ti(6. Aoy        noticc to Borro*cr providcd for in this Securiry lnstrumcnt shall bc givcn by dclivrring      il
                      orbynailirgitbyfirstclassmailunlessapplicablelarvrequiresuseofanothcrnethod, Thenuticesbatl
                      be directed to th€ Prcpeny Addrcss or any od*r address Bormwer designates by notice m Lender. Any
                      nolice to Lcndcr shall bc givcn hy first class mail to Lcnder's addrcss slatcd hercin or any address Lcndcr
                      designales by noticc to Borowd- Any noticc provided for in this Sccurity Instrumcnr shall bc dccmed to
                      have been given 1o Borrowcr or Lender when given as pmlided in rhis pmgmph.
               l.l,   Goveming lrv; Severubility. This Securhy lrsrrumfnt shall bs govcmrd by Fedenl lorv and de lau
                      of the jurisdiction in which lhc Boperry is lomtei. In lhe eveDt th3l any provision or clausc of this
                      Sccurity lnslrument or thc Norc conflicts *ith applicable law, sch conflict shall not affect orher
                      poYisians of this Sccurity loslmrcnt or the Norc which can be givcn cffect withou! thc con8icting
                      provision. Tc this erd thc prcvisions of this Security Insrrunxm and the Nore sre delued 10 bc
                      severablc-
               l5- Boron'erts Copy, Bonowcr              shnll be Bivcn onc confomred copy of thc Nofe and of this Secttril,v
                       lnslrumenl.
               16.    IIrErdou Substancer         Bonower shall mt cause or pcmit the pres€nce, use, disposal, sbrag", o(
                      eleroeofanytlazardousSubstancesonorirrhcPropcny-               Borrowcrshallhotdo,norallo*anyoneels€
                      to do, myhing affecling the Properry drat is io violarion of any Environmenral Law, The preccding uo
                      scntenccs shall no! npply lo lhe presence, usc, or storagc on thc Prcperty of small quantitics ofHazardous
                      Sub$anccs lhrt arc gcnetally rccognizcd ro bc appropriate lo normal residential uses and 10 maitrtcnilcc
                      of lhe Pmpcny-
                      BooDwtr Shall prmlPtty giye LeDder wrirtel notice of my investigalion, claim, drmud, lawsuil or olher
                      aclion by any Boyernrnental or regularory aBency er privale party invglving the PoPtrly and any
                      Hazrdous Substance or Envircnmcnlal Lrw of which Bomrver has adual krrowkdgc, lf Borrower
                      leams, or is notilicd by rny govemmillal or egulalory authority, that any rcmoral or other remcdiation
                      ol any Hazardous Substtnces affectilrg rhc Propeny is neees,aly, Boftower shall pmmplly take att
                      mccssory remcdiol aclions in accordarcc wirh Bnvironmcnral l_aw.
                      As used in lhis pmgnph 16. "t laardox Substanccs" m thos 3ubslilc.s dcfincd as roxic o, hazardout
                      substanccs by Environmentl Law ild the follorving gubstanccs: gasoline, kerc5ctrc, other flammablc or
                      ttlxic pEkolcum prcdncts. loxh peslicides ild herbicides, volarilc solvenls, materids contr;niflg arb€stos
                      or formaldchyde, and mdioaoive marerials. As used in rhis paragraph l6,.,Eavironmennl Lau,, mems
                      fedcral lays and lax's of lhc jurisdictiotr qherc thr Propeny is localed that r€late ro heshh, safety or
                      environmrntal protection.

              Non-Unifom Covmants. Bonower                and Lender furthercovenant and agree as follov.s:
              17. Assignmenl of Rents. Borewer unconditionally arsignr and trusfcrl to l-cndcr all thc rot.s and
                  rcvenues of the Propeny. BoEoq,er tuthorizes Lendcr or Lendr,s agents to {ollcci lhc renls and
                  revenues and hereby directs eacl teoanr of rb€ PropeftJ- to pay the rents to Lender or Lend€r's sgenls.
                  However. prior ro l,endcr's notice 1o Bonower ol Bonower's brca;h of any covcnant ur agrermenr in lhe
                  Security lnstrumenl. Borower shalt collefl and rcceive all rcnrs snd r(.yerur! ofrhc Propeny as trustcc
                  for the bcncfil of Lcldcr and tsofiower, Tlis msigrment of rcnls constillrtcs an abrclutc csignmeni ud
                      mt  an assignrncnt for addirional securily only.
                      lf Lcnder gives notice oi blesch to Borrower: {a) all rents receivcd by Bonowcr shall bc hcld by
                      Bormwer as trustee for bEnclll of Lender onll. to bc app,icd lo tbe sums srcured by the Securily
                      lnslnrmenl: (b) Lender shal I b. tntitled tc, col lecr and rcccive 3ll of the rcnts of the Prepcny; and (c) each
                      tensnr of the Propetty shall pay ali rents due and unpaid to Lendcr or Lcndcr's agcnt on Lcndrr's ryrinen
                      demand to the lenant.


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                   Borowrr hN nol crecuted    any prior assignmenl ofilre rcnls and has not and will not pcrform ony Bcl that
                   would     vcnl Le nder lrom exercising ils rights under lh is psragrsph I 7.
                           pre
                   Lmder shall not bc rcquired to cnlcr ufon, tale contrul ofor maintain thc Propeny before or aller giving
                   notice ofbreach to Bonower. llowcvcr, Lcndcr or ajudicially appointcd rcceivo nray do so at any time
                   thercisabrcach- Anyapplicationofrcn$s[al]not€ureorwaiveanydefauhorinvolidaremyorherrighr
                   orremedyofl.ender. ThisassignmcntofrenrsofthcPmpcrvshrll lcrninatcwhcnthcdebrsecurcdby
                   the Security lnsrrunrent is paid in full.
              lE. Foretlosure Proccdure. lf ltndcr rcqlirrs iomedistt paymcnt in full utrder parrgnph g, Lendsr
                  muy foreclose lhis Security lnstrumml by judidrl procealing Lender rhrll be eolitled to collcca
                  rll expenscs incurred irr punringthe rem.dies itt rhis prrngmph 18, incltrdlng, [trt no( linitcd ro,
                  relsonrble rttomeyc' fe43 ard costs oftitl€ evid€Dr?.
                  !, lh. latrder's iDtsest in rhis *curify lrBtrumena l, hcl{t by the Sftfttrry attd the Smrelor_v
                  rcquires immedial€ pslmmt in,ull undcr Plngrrph g, tbc sccretrry mry involc lhe nonjudicial
                 porcr of sule provirled in the Singlc Frmily DlortgeBc Forcclosurc Art of lr94 (cAct') (12 U,S,C.
                 )751 ct seg.l by requestinB a fonclmute commlssloney de$lgnraed undey abc Act lo commence
                 forcclo.surc rnd to sell lhe Proprrry as provirlal in lhc rtct. Nothing in lhe pmating scntesc. thnll
                 dtprirc th. Srcrctrrl of sn} riEhts otber*,ise ryrilrbl€ lo , Lendar under tlris psragraph 18 or
                 rpplicable lrrt-
             19. Rehrse. Upon plyme,ll of all sums sccurcd by this Sccarity InshJm€lrl, Lcr.der shall rclctrc this
                 Sccurity lnsrrumenr withoul chflrgr to Borrowcr. Bonower shall pay ily recordaricn costs.
             20- l,Ysivarof llomesarrd. BormryerwaiyesrllilgbtofhoDasteadcxamption;n$cEopcr!.v.
             2l' Ridrrs to lhls struriry Insrrumenl. lfonc or molc ridcn are cxeancd by Borower and recorded
                 togcthcr rvith *ris Security lnstrumcnt, lhc covensts of €ach such ridcr shall bc inmrporatcd into and
                 shall amend nnd suppkmcnl thc coven.nis and agreemenls ofthis Seclriry lEtrument as iflhe ridc(s)
             , were a pan of this Sccuriry lnstrumenr. (Check aplicablc box(es)],-
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             I I l'larncd Uni Dcvelopmenr Ridcr I I Gradutcd foymcnr Ridcr




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         M480           PG642




                  BY SICNING BELOW, Bonower accepts sd agrecs to the lerms mnrained in this   Seil.ity tnslrumcnt ud
                  in my ridrr(s) cxeculcd by Bonowcr md rccordcd with ii,
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                                                                                                JOHNSON COUNry
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             'l}is   instrumcnt   rvu acknowlcdged befor: are on           HARCH   21,   2011             by
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l-oRHsott couNrY
M4ao' 'PG644
                                                           EXI.IIBIT "A"

                   Lying and being on thc no(h side of Millers Creek, between Harry Lineral Branch (or
                   Webb Hollow) and Henry Lineral Branch (or Happy Hollow) being the lot upon rvhich
                   House No. l3l, is located, and being rnore panicularly described as follorvs, ro-wit:


                   Beginning at an iron pin, a comer on line belween Houses Nos. 129 and 131, at the nonh
                   wcsl edgc of a road in front of said houses; thence running in a northrresterly direction
                   with line bcrween said houses a disrance of 123.5 feer to an iron pin ar 0re southeast edge
                   of passway at the rear of said houses; thence runrirlg in a nonheasterly dilection with the
                   edge of said passrvay a distance of 37. I leet to an iron pin on the south side of the paved
                   road; thencc running in a southeasterly direction along the south side of said road a
                   discance of92 feet to a box elder snlnp; 0rence conlinuing in a soulheast cours€ along the
                   south side of the paved road; thence running in a southryesterly direction with thc cdge of
                   theroadinfrontofsaidHouseNo. 13l,adistanceof 53.5feettothebeginning,beinga
                   part of Consolidation Coal Company, Tract No. 6.

                   Tl:is deed is made subject to all resenations, exc€ptions and easements of record
                   affecting the above described property, which are recorded in Johnson County Coun
                   Clerk's Office.

                   This conveyance is made subject to all reservalions, conditjons and stipulations norv of
                   record in the above-nrentioncd clerk's oflice, rvhich affccr the above described propeny.

                   Being the same property conveyed to William C. Polly, a marricd pcrson, by Decd dated
                   0312lP0l l, recorded simultaneously herewith, in the Johnson Counry Clerk's Oftice-




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JOHNSON COUNTY       .



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   fi ecording Requested Byl
   WELLS FARGO 8ANK, N.A.

   When Reqorded Return       fo:
   ASSIG}IMENTTEAM
   WELLS FAR6O AANK,          NA
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   IJOftTGAGE COMPAT'IY, lts SUCCESSORS AND A$$|6NS rt P.O. BOX ?026, FLrllT, Ml 48501^?0?8
   Assignee; WILLS FAR6O BANK, ]t"A. at ! HOilt€ CAMPUS, BES MOlt'{€S. lA 50328

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   palvsrs s{td of dl trla oirvenafits a'.}d poyi$os lhercin coniaired, and ttre sa.id Assignor hereby $arl8 and co*veys
   unto lhe $ad Aiilgrlso, tha Aesignc,fa inr€teel under iho Mo{tgage.

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